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                          IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                    LONDON DIVISION

 ROBERT MAY, as Administrator for the              )   Cause No. 6:09-165
 Estate of Thomas May, and CHRISTOPHER             )
 HALL, as Administrator for the Estate of          )
 Bradley Hall and MATTHEW BENJAMIN                 )
 COOLEY,                                           )
                                                   )
                        Plaintiff,                 )
                                                   )
        v.                                         )
                                                   )
 FORD MOTOR COMPANY,                               )
                                                   )
                        Defendant.

     FORD MOTOR COMPANY’S MEMORANDUM OF LAW IN SUPPORT OF ITS
     MOTION IN LIMINE TO EXCLUDE EVIDENCE PERTAINING TO THE 2004
    RECALL OF THE FRONT COIL SPRINGS ON FORD TAURUS AUTOMOBILES

        Defendant Ford Motor Company (“Ford”) respectfully requests that the Court exclude all

 evidence pertaining to the 2004 recall of the front coil springs on 2001 (and other model year)

 Ford Taurus automobiles. Such evidence should be excluded pursuant to Fed. R. Evid. 402

 because it is irrelevant, and therefore inadmissible. Alternatively, even if the evidence has some

 slight relevance, it should still be excluded pursuant to Fed. R. Evid. 403 because its probative

 value is substantially outweighed by the danger of unfair prejudice, confusion of the issues, or

 misleading the jury.

                                          BACKGROUND

        The 2001 Taurus model was built with conical front coil springs (so-called “pig nose”

 springs) that sit at an angle relative to the front tires and suspension members, and cylindrical

 rear coil springs that sat in a vertical position, parallel to the rear tires. After it was discovered

 that the front coil springs had a propensity to fracture in the “salt-belt” states and impact the front

 tires, thereby causing a potential loss of tire pressure and loss of control, Ford issued a recall for
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 the front coil springs in 2004 not nationally, but only in certain states known as “salt-belt” states.

 Under the recall, Ford remedied the problem by replacing the front springs and installing shields

 that would prevent the front coil springs from impacting the front tires in the event of a fracture.

 The rear coil springs, however, were not recalled. In fact, subsequent to the front springs recall,

 the National Highway Traffic Safety Administration (“NHTSA”) investigated the rear coil

 springs because it received consumer complaints about fractures, but it, like Ford, was not able to

 identify any safety-related defects.

         The Plaintiffs contend that the accident at issue here was caused by a defective rear coil

 spring that fractured thereby resulting in a loss of control and causing the subject accident. Ford

 anticipates that the Plaintiffs will try to support this theory with evidence of the 2004 recall

 concerning the front coil springs. Such evidence should be excluded as it is irrelevant to

 plaintiff’s claims in the subject case.

                                            ARGUMENT

   I.    Evidence pertaining to the 2004 recall is irrelevant and therefore inadmissible.

         Binding Sixth Circuit precedent clearly holds that evidence of the 2004 recall of the front

 coil springs is irrelevant and therefore inadmissible in this case. In Calhoun v. Honda Motor

 Co., Ltd., 738 F.2d 126 (6th Cir. 1984), the plaintiff was injured in an accident that was allegedly

 caused by defective brakes on his motorcycle. To support his claim, the plaintiff sought to

 introduce evidence that the motorcycle’s manufacturer had issued a recall pertaining to the rear

 brake pad five months prior to the accident. Id. at 128. The Sixth Circuit, however, held that

 evidence of the recall was irrelevant and inadmissible because the plaintiff had “failed to show

 that the conditions described in the [recall] letter were present when the plaintiff had his

 accident.” Id. at 133. In other words, evidence of a recall is irrelevant unless the defect involved



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 in the recall is the same defect that allegedly caused the accident. See id.; see also Hessen for

 Use & Benefit of Allstate Ins. Co. v. Jaguar Cars, Inc., 915 F.2d 641, 649 & n.14 (11th Cir.

 1990) (holding that the evidence of a recall is only admissible if the defect alleged in the

 plaintiff’s vehicle is the same as the defect involved in the recall (citing Calhoun, 738 F.2d at

 133; Kane v. Ford Motor Co., 450 F.2d 315, 316 (3d Cir. 1971); Jordan v. Gen. Motors Corp.,

 624 F. Supp. 72, 77 (E.D. La. 1985))). In the instant case, the defect that allegedly caused the

 accident—i.e., a fractured rear coil spring—is obviously not the same defect that was involved in

 the 2004 recall—i.e., fractured front coil springs. Therefore, under Calhoun, evidence of the

 recall must be ruled inadmissible.

        The Plaintiffs may contend that the defect involved in the 2004 recall should be defined

 not as a defect in the Ford Taurus front coil springs, but as a defect in Ford Taurus coil springs in

 general. However, this is an overly narrow definition fails to take into account the significant

 differences between the design and function of the front and rear coil springs in the front wheel

 drive Taurus. The front and rear coil springs are entirely different parts. They were designed

 and manufactured differently, with the front coil springs being conical in shape in a so-called

 “pig-nosed” configuration whereas the rear coil springs are cylindrical. And, these different

 springs are incorporated into the Ford Taurus in starkly different methods, with the front coil

 springs sitting at a specified angle relative to the front tires and other suspension components

 which carry the engine and front-drive components, and the rear coil springs in a vertical

 position, parallel to the rear tires, over the non-drive componentry. In light of these facts, it is

 clear that the front and rear coil springs were subjected to different forces and stresses and would

 not necessarily have fractured under like circumstances. And, the fact that they were in different

 positions relative to the tires and suspension components also means that a fracture of the front



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 coil springs would have had a different impact and result on the front tires than would occur if

 there was a fracture of the rear coil springs and the effect it might have on the rear tires. Thus, it

 is not surprising that the front coil springs were recalled for safety reasons while the NHTSA

 failed to find any safety-related defects in the rear coil springs in declining to order a recall. In

 short, the front and rear coil springs are different parts with different designs, and different

 functions; and, the defect that led to the 2004 recall can only be viewed as a defect that was

 particular to the front coil springs, not a defect that existed in coil springs in general. As a result,

 the defect involved in the 2004 recall is clearly not involved in this case, which means that the

 2004 recall is irrelevant and therefore inadmissible. See Fed. R. Evid. 402; Calhoun, 738 F.2d at

 133.

  II.    Even if evidence pertaining to the 2004 recall has some slight relevance to the issues
         in this case, it should still be excluded because its probative value is substantially
         outweighed by the danger of unfair prejudice, confusion of the issues, misleading
         the jury, or waste of time.

         Assuming for the sake of argument that evidence of the 2004 recall were relevant to the

 issues in this case, it should still be excluded pursuant to Fed. R. Evid. 403.             Given the

 significant differences between the front and the rear coil springs, the 2004 recall of the front coil

 springs can have little, if any, probative value in determining whether the Plaintiffs’ automobile

 had a defective rear coil spring that led to their accident. This minimal probative value is

 substantially outweighed by the danger that this evidence will result in unfair prejudice,

 confusion of the issues, or misleading the jury. If the jury is allowed to hear that Ford recalled

 the front coil springs on 2001 Ford Taurus automobiles, the jury may conclude that the recall is

 direct evidence that all coil springs on Ford automobiles are defective, which would therefore

 lead the jury to conclude that the rear coil springs on the Plaintiffs’ automobile were necessarily

 defective and that the accident was caused by that defect. The jury may also conclude that Ford

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 generally produces defective automobiles and should be punished for that. In addition, evidence

 of the recall would undoubtedly result in Ford introducing a substantial amount of evidence

 showing that the defect in the front coil springs is completely unrelated to the defect alleged by

 the Plaintiffs. Thus, the trial would likely devolve into a trial about the differences between the

 front and rear coil springs, not a trial about the real issues in this case—i.e., whether the

 Plaintiffs’ automobile had the particular defect alleged by the Plaintiffs, and whether the accident

 and resultant injuries were caused by the alleged defect.

        The case of Olson v. Ford Motor Co., 410 F. Supp. 2d 869 (D.N.D. 2006), is particularly

 instructive here. In Olson, the plaintiff alleged that the accident at issue was caused by a

 defective speed control cable on a Ford Explorer. Id. at 871. To support this claim, the plaintiff

 sought to introduce evidence that Ford had issued recalls for the speed control cables on many of

 its models. Id. The court ruled that the recalls were inadmissible because the defect alleged in

 the plaintiff’s automobile was not the same defect addressed by the recalls. See id. at 872-75.

 Alternatively, the court also ruled that even if the recalls were relevant, they were inadmissible

 under Fed. R. Evid. 403 because their probative value was “substantially outweighed by the

 dangers of unfair prejudice, confusion of the issues, or misleading of the jury, and by

 considerations of undue delay and waste of time.” Id. at 875. In particular, the court held:

                If the Court were to allow [the plaintiff] to present evidence of the
                recalls, Ford would undoubtedly attempt to distinguish the recalls
                by offering evidence of their purpose, context, and resolution.
                Such presentations would lead the jury far astray of the allegations
                in this lawsuit-namely that the [plaintiff’s] Ford Explorer was
                defective-and would mire the parties, the jury, and the Court in
                discussions of the possible defects in other Ford vehicles. More
                important, evidence of the recalls could mislead a jury to conclude
                that simply because the speed control cables in some Ford vehicles
                have been the subject of recalls, the [plaintiff’s] Ford Explorer was
                likewise defective.



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 Id. The same reasoning applies to this case. Therefore, this Court should likewise find that the

 recall evidence proffered by the Plaintiffs is inadmissible pursuant to Fed. R. Evid. 403.

                                          CONCLUSION

        For the foregoing reasons, Ford respectfully requests that this Court exclude all evidence

 pertaining to the 2004 recall of the front coil springs on Ford Taurus automobiles.


                                                  FROST BROWN TODD LLC

                                                  By: /s/ Kevin C. Schiferl
                                                     Kevin C. Schiferl
                                                     Attorneys for Defendant FORD MOTOR
                                                     COMPANY




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                                       CERTIFICATE OF SERVICE

         I hereby certify that on this 3rd day of January, 2011, a copy of the foregoing was filed

 electronically. Notice of this filing will be sent to the following parties by operation of the

 Court’s electronic filing system. Parties may access this filing through the Court’s system.

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